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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 NAGI QUHSHI,
                                Plaintiff(s),

                         v.                                          23-CV-7935 (DEH)

 THE HARTFORD UNDERWRITERS                                                 ORDER
 INSURANCE COMPANY,
                                Defendant(s).



DALE E. HO, United States District Judge:

       The Civil Case Management Plan and Scheduling Order, issued September 29, 2023,

requires the parties to complete fact discovery by February 1, 2024. See Dkt. No. 11. On

January 11, 2024, Defendant filed a letter regarding Plaintiff’s alleged non-participation in

discovery, seeking an order compelling Plaintiff to respond to various requests for discovery.

See Dkt. No. 14. An order issued January 12, 2024, directed Plaintiff to file a letter in response.

See Dkt. No. 15. No such letter was filed. An order issued January 18, 2024, extended

Plaintiff’s deadline to file the required letter. See Dkt. No. 16. On January 19, 2024, Plaintiff

filed the letter. See Dkt. No. 17. Plaintiff requests an additional seventy days in which to

complete discovery. Plaintiff’s letter offers substantially no justification for his failure to timely

complete discovery.

       It is hereby ORDERED that Defendant’s request for an order compelling discovery is

GRANTED. Plaintiff shall respond to Defendant’s document requests and interrogatories,

produce all documents responsive to Defendant’s document demands or state that no such

documents exist, and reply to all requests to admit by February 9, 2024. It is further

ORDERED that Plaintiff’s request for thirty days subsequent to its responses to Defendant’s

discovery demands in which to complete depositions is GRANTED. The parties shall complete
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any depositions and all fact discovery by March 11, 2024. The parties shall complete any expert

discovery by April 26, 2024. The parties shall appear for a case management conference on

May 8, 2024, at 2:00 P.M. EST. The parties shall join the conference by dialing (646) 453 –

4442 and entering the Conference ID: 805 373 619, followed by the pound sign (#). The parties

shall file a joint status letter by May 1, 2024. Such letter shall state whether either party intends

to file a dispositive motion and, if so, shall briefly describe the grounds for such motion. The

letter shall also include a statement as to whether the parties would like a referral for settlement

discussions before the assigned Magistrate Judge or through the District’s Mediation Program.

       In light of the procedural history of this case, Plaintiff is apprised that further extensions

of the discovery schedule will not be granted absent a showing of extraordinary circumstances.

       The Clerk of Court is respectfully directed to close the motion at Dkt. No. 14.

Dated: January 23, 2024
       New York, New York


                                                                         DALE E. HO
                                                                  United States District Judge




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